                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

 JOHNNY M. HUNT,                                   Case No. 3:23-cv-00243
                                                   Judge Campbell
                       Plaintiff,                  Magistrate Judge Frensley
        v.

 SOUTHERN BAPTIST CONVENTION;
 GUIDEPOST SOLUTIONS LLC; and
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION,

                       Defendants.



  CROSS-MOTION BY DEFENDANT GUIDEPOST SOLUTIONS LLC TO MODIFY
                    CASE MANAGEMENT ORDER


       Pursuant to Rule 16(b)(4) of the Federal Rules of Civil Procedure, Local Rules 6.01(a)

and 7.01, and the Court’s Initial Case Management Order (Doc. No. 37), Defendant Guidepost

Solutions LLC (“Guidepost”) respectfully moves to modify the Case Management Order to

request up to and including April 19, 2024 for the parties to complete written discovery, fact

witness depositions, and file discovery motions. Guidepost further requests up to and including

May 3, 2024 for the parties not bearing the burden of proof to identify and disclose expert

reports; up to and including May 24, 2024 to depose expert witnesses; and up to and including

July 3, 2024 to file dispositive motions. For the reasons set forth in the accompanying

Memorandum, this Court should grant this Motion.

       1.      Pursuant to paragraph M of the Initial Case Management Order, as amended by

ECF Doc. No. 112, the existing deadlines are as follows:




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           a.   The party bearing the burden of proof on an issue must identify and disclose all

                expert witnesses and expert reports on or before February 23, 2024.

           b.   The current deadline to complete the deposition of fact witnesses is March 22,

                2024.

           c.   The current deadline to complete all written discovery is March 22, 2024.

           d.   The current deadline for the parties to file discovery motions is March 22, 2024.

           e.   The party not bearing the burden of proof on the issue shall identify and disclose

                all expert witnesses and reports on or before March 29, 2024.

           f.   Expert depositions shall be completed by April 26, 2024.

           g.   Dispositive motions must be filed no later than June 7, 2024, with responses due

                within 28 days after the filing of the motion, and optional replies due within 14

                days after the filing of the response.

           h.   The jury trial is set for November 12, 2024.

      2.        By this Motion, Guidepost requests that the exiting Case Management Order be

amended as follows:

            a. The party bearing the burden of proof on an issue must identify and disclose all

                expert witnesses and expert reports on or before March 29, 2024.

           b.   The current deadline to complete the deposition of fact witnesses shall be

                extended to April 19, 2024.

           c.   The current deadline to complete all written discovery shall be extended to April

                19, 2024.

           d.   The current deadline for the parties to file discovery motions shall be extended to

                April 19, 2024.



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              e.   The party not bearing the burden of proof on the issue shall identify and disclose

                   all expert witnesses and reports on or before May 3, 2024.

              f.   Expert depositions shall be completed by May 24, 2024.

              g.   Dispositive motions must be filed no later than July 3, 2024, with responses due

                   within 28 days after the filing of the motion, and optional replies due within 14

                   days after the filing of the response. 1

              h.   The jury trial is set for November 12, 2024

         3.        Pursuant to paragraph M of the Initial Case Management Order, the requested

extension will still conform to the requirements of Local Rule 16.01(h)(1) that no dispositive

motion deadline, including response and reply briefs, shall be later than 90 days in advance of

the trial date.

         4.        Pursuant to paragraph M of the Initial Case Management Order, Guidepost

emailed counsel in response to a request by Hunt’s counsel to extend the deadlines for expert

discovery. As of the filing of the instant motion, no Counsel for any of the Parties has responded.

         5.        In support of this Motion, Guidepost relies upon the following:

                   a.      Email correspondence dated February 22, 2024 at 12:29 pm CT, from

Hunt’s counsel, Robert Macgill, to Guidepost’s counsel regarding Hunt’s requested extension for

the party with the burden of proof to identify experts and expert reports, attached as Exhibit 1;




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       In the accompanying memorandum of law, Guidepost explains that it had proposed a
deadline of July 19, 2024, to Hunt’s counsel for the filing of dispositive motions. (See Exhibit 2.)
However, to comply with the strictures of Local Rule 16(h)(1), by this Motion Guidepost
proposes that any such motions be filed no later than July 3, 2024.
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               b.     Email correspondence dated February 22, 2024 at 5:46 pm CT, from

Guidepost’s counsel, Katharine Klein, to Hunt’s counsel regarding commensurate extensions of

other deadlines in the Case Management Order, attached as Exhibit 2; and

               c.     A Memorandum of Law filed herewith.

       6.      Pursuant to Local Rule 7.01, counsel for Guidepost endeavored to reach

agreement with counsel for Hunt regarding Hunt’s requested extension of expert deadlines and

Guidepost’s request for commensurate extensions of other discovery and motion deadline as

evidenced in the attached email exchange. Hunt moved forward with his motion for extension,

necessitating this cross-motion.

Dated: February 23, 2024

                                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing has been served through the
Court’s electronic filing system on the following:
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 Counsel for the Executive Committee of the
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on this 23rd day of February, 2024.

                                                        s/John R. Jacobson


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